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                   IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE DISTRICT OF NEW JERSEY

 UNITED STATES BANKRUPTCY COURT
 DISTRICT OF NEW JERSEY
 Caption In Compliance With D.N.J. LBR 9004-1

 Squire Patton Boggs (US) LLP
 Mark D. Sheridan, Esq.
 Mark C. Errico, Esq.
 382 Springfield Ave., Suite 300
 Summit, NJ 07401
 Telephone: 973-848-5600
 Email: mark.sheridan@squirepb.com
 Email: mark.errico@squirepb.com

 O’MELVENY & MYERS LLP
 Tancred Schiavoni, Esq. (admitted pro hac vice)
 Matthew L. Hinker, Esq. (admitted pro hac vice)
 Times Square Tower
 7 Times Square
 New York, NY 10036
 Telephone: 212-326-2000
 Email: tschiavoni@omm.com
 Email: mhinker@omm.com

 Counsel for Century Indemnity Company, as
 successor to CCI Insurance Company, as
 successor to Insurance Company of North
 America


 In re:                                            Case No. 20-21257 (JNP)

 THE DIOCESE OF CAMDEN, NEW JERSEY,                Chapter 11

               Debtor.
                                                   Judge: Jerrold N. Poslusny, Jr.


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        PLEASE TAKE NOTICE that on July 26, 2022 the Unknown Claims Representative

 produced documents in response to a subpoena served by Century Indemnity Company, as

 successor to CCI Insurance Company, as successor to Insurance Company of North America

 (“Century”).


 Dated: July 27, 2022
                                                  By: s/_Mark C. Errico       __

                                                  Squire Patton Boggs (US) LLP
                                                  Mark D. Sheridan, Esq.
                                                  Mark C. Errico, Esq.
                                                  382 Springfield Ave., Suite 300
                                                  Summit, NJ 07401
                                                  Telephone: 973-848-5600
                                                  Email: mark.sheridan@squirepb.com
                                                  Email: mark.errico@squirepb.com

                                                  O’MELVENY & MYERS LLP
                                                  Tancred Schiavoni, Esq. (admitted pro hac vice)
                                                  Matthew L. Hinker, Esq. (admitted pro hac vice)
                                                  Times Square Tower
                                                  7 Times Square
                                                  New York, NY 10036
                                                  Telephone: 212-326-2000
                                                  Email: tschiavoni@omm.com
                                                  Email: mhinker@omm.com

                                                  Counsel for Century Indemnity Company, as
                                                  successor to CCI Insurance Company, as
                                                  successor to Insurance Company of North
                                                  America; and Federal Insurance Company and
                                                  Illinois Union Insurance Company




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